        Case 21-32261 Document 159 Filed in TXSB on 01/04/22 Page 1 of 1




                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS


In re:                                           §
Kornbluth Texas, LLC                             §           Civil Action No. 4:22-cv-00011
       Debtor                                    §
                                                 §           Bankruptcy Case No. 21-32261
United States of America                         §
       Appellant                                 §


                                Notice of Filing of an Appeal
1. A notice of appeal to the district court was filed before the bankruptcy court on December
   31, 2021
2. This appeal has been assigned to United States District Judge Lynn N Hughes.
3. The appeal has been docketed as 4:22-cv-00011.
4. Motions affecting this appeal, or the judgment or order from which this appeal is taken must
   be filed in accordance with Fed. R. Bankr. P. 8006, 8007, 8008 and 8009(e).
5. Within 14 days after the notice of appeal was filed, the appellant must file a designation of
   the record. See Fed. R. Bankr. P. 8009. Within 14 days after being served with the appellant’s
   designation, appellees may file additional designations.
6. Designations of the record must be filed with the bankruptcy court. Do not file copies of
   designated items that are already on file with the bankruptcy court. Parties must
   electronically file copies of admitted trial exhibits they designate for inclusion in the record.


Date: January 4, 2022
                                                      Nathan Ochsner, Clerk of Court
                                                      S. Warda
                                                      Deputy Clerk
